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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 TROYCE MANASSA, et al.                             )
                                                    )
                              Plaintiffs,           )
                                                    )
                         v.                         )       No. 1:20-cv-03172-RLY-MJD
                                                    )
 NATIONAL COLLEGIATE ATHLETIC                       )
 ASSOCIATION,                                       )
                                                    )
                              Defendant.            )



                              SCHEDULING ORDER
                    HON. MAGISTRATE JUDGE MARK J. DINSMORE


        This matter comes before the Court on Defendant's Motion to Disqualify Fegan Scott

 LLC as Counsel for Plaintiff. [Dkt. 100.] Any response to the Motion is due on or before May

 31, 2022. Any reply in support of the Motion is due on or before June 3, 2022.

        SO ORDERED.



        Dated: 24 MAY 2022




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